                            Filed By:
                     U.S. DISTRICT COURT
                  NORTHERN DISTRICT OF IOWA



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